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   28
         Motion to Dismiss                                 Case No. 2:17-CV-04393-RGK-KS
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    1                          UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
    2                               WESTERN DIVISION
    3
    4 UNITED STATES OF AMERICA ex                      Case No. 2:17-CV-04393-RGK-KS
      rel. ISLAND INDUSTRIES, INC.,
    5                                                  DEFENDANT ANVIL
                 Plaintiff-Relator,                    INTERNATIONAL, LLC’S NOTICE
    6
                                                       OF MOTION AND MOTION TO
    7        v.                                        DISMISS PLAINTIFF-RELATOR’S
                                                       COMPLAINT
    8 VANDEWATER INTERNATIONAL
      INC.; NEIL REUBENS; ANVIL
    9 INTERNATIONAL, LLC; SMITH                        Date:        July 29, 2019
      COOPER INTERNATIONAL;                            Time:        9:00 A.M.
   10 ALLIED RUBBER & GASKET                           Courtroom:   850 (Los Angeles)
   11 COMPANY; and JOHN DOES Nos. 1–                   Judge:       The Hon. R. Gary Klausner
      10,
   12
                 Defendants.
   13
   14
        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   15
               PLEASE TAKE NOTICE that on July 29, 2019, at 9:00 a.m., or as soon
   16
        thereafter as may be heard in Courtroom 850 of the above-entitled court, at the
   17
        Roybal Federal Building and U.S. Courthouse, 255 East Temple Street, Los Angeles,
   18
   19 CA 90012, before the Honorable Judge Klausner, Defendant Anvil International,
   20 LLC (“Defendant Anvil”) will move, and hereby does move, this Court to dismiss
   21 Plaintiff’s Complaint pursuant to Federal Rules of Civil Procedure 12(b)(1) and
   22 12(b)(6).
   23          Pursuant to Local Rule 7-3, Anvil certified that this motion is made following
   24 the conference of counsel that took place on May 13, 2019, and during which counsel
   25 for Plaintiff-Relator Island Industries, Inc. indicated that the requirements of Local
   26
   27
   28     Motion to Dismiss                       ii                 Case No. 2:17-CV-04393-RGK-KS
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    1 Rule 7-3 have been satisfied. 1
    2           This motion is based on this notice of motion and motion, the accompanying
    3 Memorandum of Points and Authorities in Support of Defendant Anvil’s Motion to
    4
      Dismiss, all pleadings and papers filed in this matter, and such other evidence and
    5
      argument as may be presented to the Court at the hearing on this motion. The motion
    6
      is brought under Federal Rule of Civil Procedure Rule 12(b)(6) on the grounds that
    7
      the Complaint fails to allege facts that state a claim against Defendant Anvil under
    8
      the False Claims Act. Specifically, the Complaint fails to meet the requirements
    9
   10 under Rule 9(b) to plead fraud with particularity and fails to allege facts that make
   11 it plausible that Defendant Anvil knowingly made a false record or statement to
   12 avoid an obligation to the government. The motion also is brought under Federal
   13 Rule of Civil Procedure Rule 12(b)(1) on the grounds that the Complaint is barred
   14 because no cited information concerning Anvil is other than existing, publicly
   15 disclosed information, and Plaintiff-Relator has failed materially to add any
   16 substantiated analysis or information to such publicly disclosed information.
   17 DATED: June 25, 2019
                                                                 KING & SPALDING LLP
   18
                                                                 By: /s/
   19                                                                J. Michael Taylor
   20                                                                  Attorneys for Defendant
   21                                                                  ANVIL INTERNATIONAL, LLC

   22
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   26
   27   1 Counsel for Island Industries, Inc. also were sent an email on June 25, 2019, notifying them that this Motion to
        Dismiss was being filed on that day.
   28      Motion to Dismiss                                      iii                     Case No. 2:17-CV-04393-RGK-KS
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    1                               UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
    2                                    WESTERN DIVISION
    3
    4 UNITED STATES OF AMERICA ex                                         Case No. 2:17-CV-04393-RGK-KS
      rel. ISLAND INDUSTRIES, INC.,
    5                                                                     DEFENDANT ANVIL
                 Plaintiff-Relator,                                       INTERNATIONAL, LLC’S
    6
                                                                          MEMORANDUM OF POINTS AND
    7        v.                                                           AUTHORITIES IN SUPPORT OF
                                                                          ITS MOTION TO DISMISS
    8 VANDEWATER INTERNATIONAL                                            PLAINTIFF-RELATOR’S
      INC.; NEIL REUBENS; ANVIL                                           COMPLAINT
    9 INTERNATIONAL, LLC; SMITH
      COOPER INTERNATIONAL;                                               Date:             July 29, 2019
   10 ALLIED RUBBER & GASKET
                                                                          Time:             9:00 A.M.
   11 COMPANY; and JOHN DOES Nos. 1–                                      Courtroom:        850 (Los Angeles)
      10,                                                                 Judge:            The Hon. R. Gary Klausner
   12
                 Defendants.
   13
   14
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   28      Motion to Dismiss                                  ix                     Case No. 2:17-CV-04393-RGK-KS
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     1
         I.        INTRODUCTION
     2
                   Defendant Anvil International, LLC (“Anvil”) moves to dismiss the
     3
         Complaint filed by Island Industries, Inc. (“Island” or Relator) against Anvil. In this
     4
         qui tam action, Relator alleges that Anvil, as well as a number of other defendants,
     5
         evaded antidumping duties on butt-weld pipe fittings manufactured in China
     6
         (“Chinese Welded Outlets”) and imported into the United States by submitting
     7
         customs forms that failed to report the imported goods were subject to antidumping
     8
         duties. Specifically, Island claims Anvil imported Chinese Welded Outlets but
     9
         falsely claimed on the customs forms that other goods – which were not subject to
    10
         an antidumping duty – actually were being imported. The complaint must be
    11
         dismissed pursuant to Rule 12(b)(6), because it fails to state a plausible claim for
    12
         relief under either the standards of that rule or the more rigorous pleading standards
    13
         of Rule 9(b).
    14
                   The only stated bases for the claims against Anvil in Island’s Complaint are
    15
         contained in five sparse paragraphs. On review, those paragraphs lack the essential
    16
         allegation that must be included for liability under the False Claims Act (“FCA”) –
    17
         a non-conclusory factual allegation that Anvil knowingly made a false record or
    18
         statement to avoid an obligation to the government. Furthermore, the few details
    19
         contained in those conclusory five paragraphs all come from records and information
    20
         that are publicly available, and there is no information in the Complaint that reflects
    21
         that the Relator is an original source or has contributed any material information or
    22
         substantiated analysis regarding Anvil beyond what already is in the public domain.
    23
         II.       BACKGROUND AND SUMMARY OF RELATOR’S ALLEGATIONS
    24
                   Relator is “an American manufacturer of fire protection and steel piping
    25
         system supplies” who manufactures, among other things, “carbon steel butt-weld
    26
         pipe fittings.” Compl. ¶ 1
    27
                   Anvil is a domestic manufacturer and distributor of butt-weld pipe fittings.
    28
              Motion to Dismiss                                      Case No. 2:17-CV-04393-RGK-KS
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     1 The remaining defendants allegedly are importers and/or marketers of butt-weld pipe
     2 fittings, and people and/or entities who may have assisted defendants. Compl. ¶¶ 7,
     3 9-12
     4         Relator filed its complaint on June 13, 2017, on behalf of the United States
     5 alleging violations of the False Claims Act, 31 U.S.C. § 3729(a)(1)(G), and
     6 conspiracy to violate the False Claims Act, 31 U.S.C. § 3729(a)(1)(C).              On
     7 December 3, 2018, the Government filed notice that it declined to intervene but
     8 would continue to investigate the Complaint’s allegations with respect to the other
     9 defendants. See D.E. 28. Notably, however, the Government stated that it had
   10 completed its investigation with respect to Anvil and fully declined intervention. See
   11 id. The Complaint was unsealed on January 30, 2019. D.E. 34.
   12          In the Complaint, Relator alleges generally that the defendants have used
   13 several methods to misclassify or hide their importation of Chinese Welded Outlets
   14 in order to avoid the antidumping duties that apply to that product. These methods
   15 include falsely describing Chinese Welded Outlets as steel products; falsely claiming
   16 that Chinese Welded Outlets originated in other countries; and comingling Chinese
   17 Welded Outlets with shipments of other products not subject to antidumping duties.
   18 See Compl. ¶¶ 1–4. Relator then alleges that all the defendants made false records
   19 or statements by falsely marking on Customs and Border Protection (“CBP”) Form
   20 7501 (i.e., the Entry Summary) that their imported products were not subject to
   21 antidumping duties. Compl. ¶¶ 60-61
   22          The bulk of the Complaint describes the alleged wrongdoing of the other
   23 defendants. The Complaint only contains five paragraphs that allege purported
   24 wrongdoing by Anvil. Compl. ¶¶ 41-45. Relator alleges that Anvil markets several
   25 lines of welded outlets, two sourced in the United States and “the remainder” sourced
   26 from abroad. Compl. ¶ 41. Relator then alleges “on information and belief” that the
   27 bulk of the “internationally sourced products are manufactured in China,” and goes
   28     Motion to Dismiss                      2                Case No. 2:17-CV-04393-RGK-KS
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     1 on to assert that since 2012 “Anvil has imported more than $5 million of Chinese
     2 Welded Outlets every year.” Compl. ¶¶ 41-42.
     3         The Complaint acknowledges that the import-related documents available to
     4 Relator indicate Anvil has imported no Chinese Welded Outlets. Compl. ¶ 43.
     5 Rather, the Complaint alleges that those records show that “one of ANVIL’s
     6 subsidiaries has been importing ‘merchant coupling blanks,’ ‘pipe fittings,’ and
     7 ‘pipe nipples,’” which are “potentially beyond the scope of the antidumping duty
     8 order on Chinese Welded Outlets.” The crux of the Complaint’s allegations is that
     9 these descriptions are false and that the goods being imported are really Chinese
   10 Welded Outlets. In making this allegation, the Complaint alleges – on mere
   11 information and belief – that Anvil “avoids the antidumping duties on its Chinese
   12 Welded Outlets by, among other things, falsely describing its import products.”
   13 Compl. ¶ 43.
   14          The only “support” cited in the Complaint for the claim that an Anvil
   15 subsidiary has imported a Chinese Welded Outlet subject to antidumping duties, and
   16 that the import documentation is false, is a series of unconnected assertions:
   17          • On information and belief, that Anvil imports coupling blanks from an
   18              unspecified Chinese factory in which Anvil has an ownership interest
   19              (Compl. ¶ 44);
   20          • Beijing Bell, one of the manufacturers that the Complaint alleges to have
   21              sold Chinese Welded Outlets to Anvil, does not market “blank” or “semi-
   22              finished” merchant couplings (Compl. ¶¶ 42, 44);
   23          • “Anvil has the technical ability to finish an unfinished product, which
   24              would make it easy for ANVIL to import unfinished Chinese Welded
   25              Outlets (which are subject to antidumping duties) as merchant coupling
   26              blanks or as miscellaneous pipe fittings” (Compl. ¶ 44); and
   27          • The “volume of ‘merchant coupling blanks’ at issue” is consistent “with
   28     Motion to Dismiss                       3                Case No. 2:17-CV-04393-RGK-KS
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     1              the U.S. market share in Welded Outlets” that Anvil allegedly has taken
     2              from Relator since 2012 (Compl. ¶ 44).
     3         The Complaint’s only allegation concerning the creation of a false record or
     4 statement submitted to the CBP is notable in that it simply lumped Anvil in with the
     5 other defendants, asserting that:
     6                 “Defendants knew that the Chinese Welded Outlets were
     7                 subject to an antidumping duty order. Nonetheless,
                       Defendants falsely represented (or caused a broker acting
     8                 on their behalf falsely to represent) that the goods qualified
     9                 for Entry Type 01, meaning they were not subject to an
                       antidumping duty. By falsely marking the entry type,
   10                  Defendants made or caused to be made a false record or
   11                  statement material to their obligation to pay money to the
                       United States.” Compl. ¶ 61.
   12
   13 Read in the best light available to the Relator, the Complaint speculates that because
   14 Anvil sells welded outlets in the U.S. market, and an Anvil subsidiary has imported
   15 different products from China, then it must follow that Anvil actually must have
   16 been importing unfinished Chinese Welded Outlets and then falsely describing them
   17 as other products not subject to antidumping duties in the paperwork submitted to
   18 the CBP. The Complaint, however, identifies not a shred of evidence to support its
   19 speculation concerning Anvil.
   20      III.     ARGUMENT
   21          A.     The Amended Complaint Fails To State A Claim For Relief
   22          Rule 12(b)(6) requires dismissal of Relator’s Complaint against Anvil,
   23 because the Complaint fails to allege with plausibility, let alone particularity, any
   24 facts showing that Anvil knowingly made a false record or statement to the CBP for
   25 the purpose of avoiding antidumping duties, or conspiring to violate the FCA.
   26
   27
   28     Motion to Dismiss                          4                 Case No. 2:17-CV-04393-RGK-KS
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     1                1.      Legal Standard
     2         A claim under the False Claims Act must both be plausible pursuant to Federal
     3 Rules of Civil Procedure 8 and 12(b)(6) and pled with particularity under Rule 9(b).
     4 United States ex rel. Campie v. Gilead Scis., Inc., 862 F.3d 890, 898 (9th Cir. 2017).
     5 “To survive a motion to dismiss, a complaint must contain sufficient factual matter,
     6 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.
     7 Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp. v.
     8 Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 1974 (2007)). A claim is facially
     9 plausible when its factual allegations are sufficient to “allow[] the court to draw the
   10 reasonable inference that the defendant is liable for the misconduct.” Id. “The
   11 plausibility standard is not akin to a ‘probability requirement,’ but it asks for more
   12 than a sheer possibility that a defendant has acted unlawfully.” Id. Although the
   13 Court is required to treat the complaint’s well-pled factual allegations as true, it is
   14 equally required to disregard inferences unsupported by facts set out in the complaint
   15 and legal conclusions couched as factual allegations. Id.; see United States ex rel.
   16 Campie v. Gilead Scis., Inc., 862 F.3d 890, 898 (9th Cir. 2017). “Threadbare recitals
   17 of the elements of a cause of action, supported by mere conclusory statements, do
   18 not suffice.” Iqbal, 556 U.S. at 678, 129 S. Ct. at 1949.
   19          In addition, allegations of fraud such as those in an FCA case must be pled
   20 with particularity. Fed. R. Civ. P. 9(b). Ebeid ex rel. United States v. Lungwitz, 616
   21 F.3d 993, 998 (9th Cir. 2010); United States ex rel. Cafasso v. Gen. Dynamics C4
   22 Sys., Inc., 637 F.3d 1047, 1054 (9th Cir. 2011) (“The heightened pleading standard
   23 of Rule 9(b) governs FCA claims.”). “Rule 9(b) demands that the circumstances
   24 constituting the alleged fraud ‘be specific enough to give defendants notice of the
   25 particular misconduct . . . so that they can defend against the charge and not just
   26 deny that they have done anything wrong.’” Kearns v. Ford Motor Co., 567 F.3d
   27 1120, 1124 (9th Cir. 2009) (quoting Bly-Magee v. California, 236 F.3d 1014, 1019
   28     Motion to Dismiss                         5                Case No. 2:17-CV-04393-RGK-KS
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     1 (9th Cir. 2001)). To satisfy this additional hurdle, the complaint must allege
     2 “particular details of a scheme to submit false claims paired with reliable indicia that
     3 lead to a strong inference that claims were actually submitted.” Ebeid, 616 F.3d at
     4 998-999.
     5         The Ninth Circuit held this means that “a pleading must identify ‘the who,
     6 what, when, where, and how of the misconduct charged,’ as well as what is ‘false or
     7 misleading about [the purportedly fraudulent] statement, and why it is false.’”
     8 United States ex rel. Anita Silingo v. WellPoint, Inc., 904 F.3d 667, 677 (9th Cir.
     9 2018) (citing Cafasso, 637 F.3d at 1055). The allegations “must be specific enough
   10 to give defendant notice of the particular misconduct which is alleged to constitute
   11 the fraud charged so that they can defend the charge and not just deny that they have
   12 done anything wrong.” Id. (quotation marks omitted).
   13          In addition, Rule 9(b) requires that “a fraud suit against differently situated
   14 defendants must identify the role of each defendant in the alleged fraudulent
   15 scheme.”        Silingo, 904 F.3d at 677 (quotation marks omitted).          A Relator’s
   16 Complaint cannot “lump” dissimilar defendants together but must differentiate the
   17 allegations as to each individual defendant. Id.
   18                 2.      The Complaint Fails To Meet The Pleading Standards Of
   19                         Rule 8 And Rule 9(b).
   20          Far from alleging the who, what, when, where, and how concerning the
   21 allegation that Anvil submitted false records or statements to the Government,
   22 Relator’s Complaint fails to set out with particularity any facts showing that Anvil
   23 made, or caused to be made, a single false record or statement to avoid antidumping
   24 duties.
   25          To establish a reverse false claim, as alleged in the Complaint, a relator must
   26 prove: (1) a false record or statement; (2) the defendant’s knowledge of the falsity;
   27 (3) that the defendant made, used or causes to be made or used a false statement or
   28     Motion to Dismiss                        6                Case No. 2:17-CV-04393-RGK-KS
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     1 record; (4) for the purpose to conceal, avoid, or decrease an obligation to pay money
     2 to the government; and (5) the materiality of the misrepresentation. See 31 U.S.C.
     3 § 3729(a)(1)(G); see also United States v. Bourseau, 531 F.3d 1159, 1164-70 (9th
     4 Cir. 2008).
     5            “An actual false claim is the sine qua non of an FCA violation.” Cafasso, 637
     6 F.3d at 1055 (quotation marks omitted and alteration adopted). The Ninth Circuit
                                                            2
     7 has held that Section 3729(a)(1)(G), the “reverse false claims” provision, “does not
     8 eliminate or supplant” this essential element of an FCA claim. Id. at 1056. Instead,
     9 it “expands the meaning of a false claim to include statements to avoid paying a debt
   10 or returning property to the United States.” Id.
   11             Here, the Complaint fails to allege facts showing that Anvil imports any
   12 product subject to antidumping duties, let alone any facts showing that Anvil made,
   13 or caused to be made, a false record or statement to the CBP to avoid antidumping
   14 duties. As an initial matter, it should be observed that Relator’s references to Anvil’s
   15 imports appear to be based on publicly available ship manifests (compiled from bills
   16 of lading) prepared by the shipper. See 19 U.S.C. § 1431; 19 C.F.R. § 103.31. Public
   17 ship manifests are distinct and separate from confidential entry summaries, prepared
   18 by the importer and submitted to CBP on CF-7501, which are used to determine the
   19 amount duties owed (and on which false statements may give rise to an FCA claim).
   20 See 19 C.F.R. §§ 141.61 and 142.11. Relator acknowledges that the ship manifests
   21 describe Anvil’s imports as non-subject “merchant coupling blanks,” “pipe fittings,”
   22 and “pipe nipples” rather than welded outlets, but Relator claims without evidence
   23 that those descriptions are false. More importantly, Relator presents no evidence
   24 whatsoever that Anvil itself made a false statement to CBP on its CF-7501 for any
   25
   26    2 Although the language of the reverse false claims act violation changed with the amendments to the FCA in 2010,
         its operative language for purposes of this case remains unchanged and the district courts continue to rely on the pre-
   27    2010 Ninth Circuit precedent.       The old citation was 31 U.S.C. §3729(a)(7), the new citation is 31 U.S.C.
         §3729(a)(1)(G).
   28        Motion to Dismiss                                      7                     Case No. 2:17-CV-04393-RGK-KS
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     1 entry.
     2          The Complaint alleges no facts showing that Anvil sells welded outlets
     3 manufactured in China that are subject to antidumping duties. Rather, the Complaint
     4 merely alleges that Anvil “markets” welded outlets and alleges at least some of
     5 Anvil’s welded outlets are sourced from abroad. Compl. ¶ 41. Relator then claims
     6 on information and belief that such allegedly-foreign-origin outlets are
     7 manufactured in China. Although Relator attached Exhibit G, which reflects that
     8 Anvil markets welded outlets, nothing in that Exhibit supports that Anvil’s welded
     9 outlets are sourced from China (which is a pre-requisite for the application of
   10 antidumping duties on butt-weld fittings). Instead, the Exhibit merely shows that
   11 one product brand sold by Anvil (composed of many different product categories)
   12 includes some imported products. This does not support that all of the product
   13 categories in that brand are imported, much less that all of the product categories in
   14 that brand are imported from China.
   15           The Complaint alleges without support that “since 2012, Anvil has imported
   16 more than $5 million of Chinese Welded Outlets every year.” Compl. ¶ 42. Instead,
   17 in a contorted effort to generate a claim, the Complaint concedes, as it must, that
   18 “the import record suggests that Anvil has not imported any Chinese Welded
   19 Outlets;” the Complaint then goes on simply to speculate that although an Anvil
   20 subsidiary has been importing different products not subject to antidumping duties
   21 – “merchant coupling blanks,” “pipe fittings,” and “pipe nipples,” – those products
   22 actually must be unfinished Chinese Welded Outlets. Compl. ¶ 43. Again, the
   23 Complaint contains no particularized facts to support the claim that the products
   24 being imported are not as described in the cited “import records,” and tellingly the
   25 Complaint makes no allegation that Anvil is not actually importing merchant
   26 coupling blanks, pipe fittings, and pipe nipples. In actuality, the heart of Relator’s
   27 allegation turns on a reference to unspecified records reflecting that an unidentified
   28     Motion to Dismiss                      8                Case No. 2:17-CV-04393-RGK-KS
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     1 Anvil subsidiary is importing different products that are not subject to antidumping
     2 duties, and that Relator believes the product actually being imported must be an
     3 unfinished Chinese Welded Outlet. Compl. ¶ 43.
     4            Relator asserts that “Anvil has the technical ability to finish an unfinished
     5 product, which would make it easy for ANVIL to import unfinished Chinese Welded
     6 Outlets (which are subject to antidumping duties) as merchant coupling blanks or as
     7 miscellaneous pipe fittings.” Compl. ¶ 44. The Complaint, instead of citing factual
     8 allegations of fraud with particularity merely piles inference on inference, asserting
     9 that the “volume of ‘merchant coupling blanks’ at issue” is consistent “with the U.S.
   10 market share in Welded Outlets” that Anvil allegedly has taken from Relator since
   11 2012. Compl. ¶ 44.
   12             Nowhere does the Complaint allege any particularized facts demonstrating
   13 that Anvil actually has imported any unfinished Chinese Welded Outlets, let alone
   14 facts showing that Anvil has submitted false records to CBP concerning products it
   15 imports. Compl. ¶¶ 41-45, 60-61. There is literally no allegation in the Complaint
   16 reflecting the “who, what, when, where, and how of the misconduct charged.”
   17 Silingo, 904 F.3d at 677.
   18             The Complaint does not identify a single individual involved in the alleged
   19 scheme to avoid antidumping duties. There is no description of an actual scheme to
   20 avoid antidumping duties; there is only Relator’s speculation about how Anvil might
   21 have avoided such duties. Most significantly, the Complaint does not identify a
   22 single instance of a falsified CBP Form 7501 being completed by Anvil. Instead,
   23 there is simply a general allegation that all of the defendants falsely represented on
   24 CBP Form 7501 that Chinese Welded Outlets purportedly imported by Anvil were
                                                                                    3
   25 not subject to antidumping duties. Compl. ¶¶ 60-61.
   26
         3 Although there are more specific allegations concerning other of the defendants, Rule 9(b) requires that “a fraud suit
   27    against differently situated defendants must identify the role of each defendant in the alleged fraudulent scheme.”
         Silingo, 904 F.3d at 677. Compare, e.g., Compl. ¶¶ 27-40 (allegations regarding Defendant Vandewater International
   28       Motion to Dismiss                                      9                       Case No. 2:17-CV-04393-RGK-KS
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     1            Not only does the Complaint contain no facts sufficient to state a violation of
     2 the FCA with regard to Anvil, it also contains no facts sufficient to allege a
     3 conspiracy to violate the FCA. In order to allege a conspiracy under the FCA, the
     4 plaintiff must allege facts sufficient to identify an agreement between the parties to
     5 violate the FCA, and that Anvil committed an act in furtherance of that conspiracy.
     6 Silingo, 904 F.3d at 678; United States ex rel. Ruhe v. Masimo Corp., 929 F. Supp.
     7 2d 1033, 1037-38 (C.D Cal. 2012). As discussed more fully supra at pages 8-10,
     8 the allegations concerning Anvil contain no specific factual allegations supporting
     9 that Anvil actually has imported any unfinished Chinese Welded Outlets or that
   10 Anvil has submitted false records to CBP concerning products it imports, let alone
   11 any factual allegations that Anvil had an agreement with anyone to do so. Compl.
   12 ¶¶ 41-45, 60-61, 72-73.
   13             B.     The Public Disclosure Bar Requires The Dismissal Of The Claims
   14                     Against Anvil.
   15                     1. Legal Standard.
   16             Under the FCA, “[t]he court shall dismiss an action or claim under this
   17 section, unless opposed by the Government, if substantially the same allegations or
   18 transactions as alleged in the action or claim were publicly disclosed” unless the
   19 Relator is an original source, meaning it has “knowledge that is independent of and
   20 materially adds to the publicly disclosed allegations.” 31 U.S.C. § 3730(e)(4)(a) &
              4
   21 (B). See also United States ex rel. Hartpence v. Kinetic Concepts, Inc., 792 F.3d
   22 1121, 1123 (9th Cir. 2015) (en banc). This public disclosure bar is “intended to
   23 encourage suits by whistle-blowers with genuinely valuable information, while
   24 discouraging litigation by plaintiffs who have no significant information of their own
   25
   26    Inc.) with Compl. ¶¶ 41-44 (allegations regarding Anvil).
         4 Since the 2010 amendments to the FCA, the public disclosure bar is no longer a jurisdictional bar, but nonetheless
   27    mandates dismissal “unless opposed by the Government.” Compare 31 U.S.C. § 3730(e)(4) (2010), with 31 U.S.C. §
         3730(e)(4) (1986).
   28       Motion to Dismiss                                     10                    Case No. 2:17-CV-04393-RGK-KS
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     1 to contribute.” United States ex rel. Mateski v. Raytheon Co., 816 F.3d 565, 570
     2 (11th Cir. 2016).
     3         “Public disclosure” occurs if the relator’s action is based on substantially the
     4 same allegations as those publicly disclosed in (1) a Federal criminal, civil, or
     5 administrative hearing in which the Government or its agent is a party; (2) in a
     6 congressional, Government Accountability Office, or other Federal report, hearing,
     7 audit, or investigation; or (3) from the news media. 31 U.S.C. § 3730(e)(4)(A).
     8         An “original source” is statutorily defined as an individual who either “prior
     9 to a public disclosure [as defined by the statute] voluntarily disclosed to the
   10 Government the information on which allegations or transactions in a claim are
   11 based” or “has knowledge that is independent of and materially adds to the publicly
   12 disclosed allegations or transactions, and who has voluntarily provided the
   13 information to the Government before filing an action under this section.” 31 U.S.C.
   14 § 3730(e)(4)(B).
   15          In the present case there is no evidence reflecting that Relator is an original
   16 source who has materially added any substantiated allegation or information to the
   17 publicly available information about Anvil.
   18                  2. All of the Allegations Relating to Anvil are Based on Publicly
   19                         Disclosed Information.
   20          As discussed supra, the Complaint acknowledges that Anvil purports to
   21 import certain products from China, which are not subject to antidumping duties.
   22 The Complaint then speculates that the actual products being imported are Chinese
   23 Welded Outlets and that Anvil has falsified the CBP Entry Summaries describing
   24 those products to avoid antidumping duties.
   25          In support of its speculation, the Complaint alleges that:
   26      (1) Anvil markets “several lines of Welded Outlets: two are sourced in the United
   27          States and the remainder are sourced from abroad.” Compl. ¶ 41.
   28     Motion to Dismiss                            11           Case No. 2:17-CV-04393-RGK-KS
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     1       (2) “The records reflect that one of ANVIL’s subsidiaries has been importing
     2            significant volumes of ‘merchant coupling blanks,’ ‘pipe fittings,’ and ‘pipe
     3            nipples.’” Compl. ¶ 42.
     4       (3) Beijing Bell, one of the manufacturers that the Complaint alleges sells
     5            Chinese Welded Outlets to Anvil, does not market “blank” or “semi-finished”
     6            merchant couplings; Compl. ¶¶ 42, 44.
     7       (4) “Anvil has the technical ability to finish an unfinished product, which would
     8            make it easy for ANVIL to import unfinished Chinese Welded Outlets (which
     9            are subject to antidumping duties) as merchant coupling blanks or as
   10             miscellaneous pipe fittings”; Compl. ¶ 44, and
   11        (5) The “volume of ‘merchant coupling blanks’ at issue” is consistent “with the
   12             U.S. market share in Welded Outlets” that Anvil allegedly has taken from
   13             Relator since 2012. Compl. ¶ 44.
   14             The only sources identified in the Complaint and its attachments in support of
   15 allegations (1), (3) and (4) are marketing materials from both Anvil and Beijing Bell,
                                           5
   16 a Chinese manufacturer. Compl., Exhibits C and G. The information in allegations
   17 (2) and (5) appears to be publicly available ship manifest data released by CPB. All
   18 of that information qualifies as a public disclosure under Section 3730(e)(4)(A)(i)-
   19 (iii).
   20             Anvil’s marketing materials, attached to the Complaint as Exhibit G, are the
   21 apparent basis for the allegation that Anvil sources any welded outlets from China.
   22 (It is not clear how Relator reaches that conclusion based on those materials, but that
   23 is the only apparent basis for its claim.) Compl. ¶ 41. Anvil’s marketing materials
   24
   25    5 Paragraph 25 of the Complaint identifies a number of sources for Relator’s allegations, including a review of “public
   26    and private import data,” “information and documents from the Defendants’ current and former agents, employees,
         and consultants,” “a confidential source” and “a variety of market players.” Although the allegations against some of
         the other defendants do include information from potentially private sources such as former employees, or a
   27    confidential source, none of the allegations concerning Anvil indicate that they are from anything other than marketing
         materials or ship manifest data. Compl. ¶¶ 41-45.
   28       Motion to Dismiss                                      12                        Case No. 2:17-CV-04393-RGK-KS
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     1 also are presumably again the source for the allegation that Anvil could finish an
     2 unfinished product, as it does domestically manufacture butt-weld outlets. Compl.
     3 ¶ 41 & Exhibit G.
     4         Similarly, the only apparent source of Relator’s claim that Beijing Bell does
     5 not market “blank” or “semi-finished” merchant couplings are its marketing
     6 materials, attached as Exhibit C to the Complaint. Compl. ¶¶ 23, 44 & Exhibit C.
     7         Finally, the fact that Anvil and/or its affiliates receive imported blanks, pipe
     8 fittings, and pipe nipples (plus some general volume information about those
     9 shipments) is available from the ship manifest data. Importantly, Relator does not
   10 allege that it is relying on actual entry documents filed by Anvil as the importer of
   11 record with U.S. Customs, which are confidential records only available to CBP and
   12 to the actual importer and its agents. Instead, the “import records” cited by Relator
   13 appear to be publicly available ship manifest data released by CBP that provide only
   14 a general description of the goods, along with certain other data, such as the quantity
   15 and consignee. 19 U.S.C. § 1431(c)(1); 19 C.F.R. § 103.31(e)(3).
   16          Both marketing materials and ship manifest data are publicly available
   17 information as defined by Section 3730(e)(4)(i)-(iii).
   18          Courts have broadly considered “news media” to include “[i]nformation
   19 publicly available on the Internet.” See United States ex rel. Hong v. Newport
   20 Sensors, Inc., SACV 13-1164-JLS (JPRx), 2016 WL 8929246, at *5 (C.D. Cal. May
   21
         19, 2016). In Hong, the court accepted faculty profiles on two university websites
   22
         as “news media.” Id. The Anvil marketing materials and the Beijing Bell marketing
   23
         materials are both available on the Internet. See Compl. at Exh. C, including
   24
         materials from www.bbp.cn and Exh. G, including materials from the
   25
         www.anvilintl.com.
   26
   27          Similarly, ship manifest data are made available by CBP in responses to

   28     Motion to Dismiss                       13                Case No. 2:17-CV-04393-RGK-KS
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     1 requests for public disclosure, which also are aggregated and available through
     2 multiple on-line services. That publicly available information includes the type and
     3 volume of product being imported. 19 U.S.C. § 1431(c)(1); 19 C.F.R. § 103.31(e)(3)
     4
         In United States ex rel. Customs Fraud Investigations, LLC v. Victaulic Co., No. 13-
     5
         2983, 2014 WL 4375638, at *10 (E.D. Pa. Sept. 4, 2014), the court held that shipping
     6
         manifest information made available by CBP pursuant to 19 C.F.R. § 103.31 is
     7
         publicly disclosed as either “news media” or “federal reports” within the meaning
     8
         of the public disclosure bar. Id. at *10. The court also emphasized that CBP made
     9
   10 the information available for purchase to the press and public itself. See
   11 id. Similarly, another case found that reports published by PIERS, a company that
   12 compiles manifest information submitted to customs, qualified as “news media” for
   13 purposes of the public disclosure bar. United States ex rel. Doe v. Staples, Inc., 932
   14 F. Supp. 2d 34, 40 (D.D.C. 2013). Relator has added no new information or
   15 substantiated analysis in its allegations against Anvil to the publicly available
   16 information, demonstrating that it does not have knowledge that is independent of
   17
         and materially adds to the publicly disclosed allegations or transactions.
   18
                Because the only information that forms the basis for the allegations against
   19
         Anvil in the Complaint are unsubstantiated speculation built on publicly disclosed
   20
         information, and because Relator is not an original source and has added no
   21
         independent information to his allegations against Anvil (beyond conjecture and
   22
         speculation), pursuant to Section 3730(e)(4)(A), the claims against Anvil must be
   23
         dismissed.
   24
                C.     Notice Of Pending Administrative Appeals Of Scope Proceedings
   25
                        Before Court Of International Trade
   26
                If the Court finds that dismissal is not warranted, it should stay the
   27
         proceedings under the doctrine of primary jurisdiction in order to allow the Court of
   28      Motion to Dismiss                       14               Case No. 2:17-CV-04393-RGK-KS
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     1 International Trade (“CIT”) to review three administrative appeals from the U.S.
     2 Department of Commerce’s scope rulings, which addressed whether butt-weld
     3 fittings imported by Vandewater, SIGMA, and Smith-Cooper International are
     4 within the scope of the antidumping duty order on certain butt-weld pipe fittings
     5 from China. See Vandewater International Inc. v. United States (Ct. No. 18-00199);
     6 SIGMA Corp. v. United States (Court No. 19-00003); and Smith-Cooper
     7 International v. United States (Ct. No. 19-00011). Anvil and Island Industries (as
     8 domestic producers) are parties in each of these three cases currently being litigated
     9 before the CIT. The Court of International Trade is an Article III Court with
   10 specialized jurisdiction to determine, among other things, whether the Commerce
   11 Department’s determinations concerning antidumping duty scope rulings are
   12 unsupported by substantial record evidence on the record, or otherwise not in
   13 accordance with law. 19 U.S.C. § 1516a (a)(2)(B)(vi) & (b)(1)(B)(i).
   14          The doctrine of primary jurisdiction “is concerned with promoting proper
   15 relationships between the courts and administrative agencies charged with particular
   16 regulatory duties.” United States v. W. Pac. R.R. Co., 352 U.S. 59, 63 (1956). It
   17 “comes into play whenever enforcement of the claim requires the resolution of issues
   18 which, under a regulatory scheme, have been placed within the special competence
   19 of an administrative body; in such a case the judicial process is suspended pending
   20 referral of such issues to the administrative body for its views.” Id. at 64.
   21          The Ninth Circuit has held that the doctrine of primary jurisdiction may be
   22 invoked where “a claim requires resolution of an issue of first impression, or of a
   23 particularly complicated issue that Congress has committed to a regulatory agency.”
   24 Clark v. Time Warner Cable, 523 F.3d 1110, 1114 (9th Cir. 2008). Although there
   25 is no “fixed formula” for applying the doctrine of primary jurisdiction, the Ninth
   26 Circuit has recognized that four factors may support using the doctrine: “(1) a need
   27 to resolve an issue that (2) has been placed by Congress within the jurisdiction of an
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     1 administrative body having regulatory authority (3) pursuant to a statute that subjects
     2 an industry or activity to a comprehensive regulatory authority that (4) requires
     3 expertise or uniformity in administration.”       Id. (quotation marks omitted and
     4 alteration adopted).
     5         Whether butt-weld outlets that are the subject of Island’s false claims act case
     6 even are subject to antidumping duties is squarely within the jurisdiction of the CIT
     7 and the Commerce Department, and is a question that needs to be settled before a
     8 false claims act case based on that assumption moves forward.
     9     D. CONCLUSION
   10          For the foregoing reasons, the Court should grant Anvil’s motion and dismiss
   11 Relator’s claims against Anvil.
   12
   13 DATED: June 25, 2019                         KING & SPALDING LLP
   14
   15
                                                   By: : /s/
   16                                                  J. Michael Taylor
   17
                                                       Attorneys for Defendant
   18                                                  Anvil International, LLC
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   28     Motion to Dismiss                       16                Case No. 2:17-CV-04393-RGK-KS
